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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHLOE DEONNA
Plaintiff
Civil Action No. 4:21-cv-00331-MWB
V.
CENTRE HILLS COUNTRY Honorable Matthew W. DAP Fay ER
: ORT
APR pe
Defendant PER % 209

DEFENDANT’S MOTION TO FILE UNDER SEAL DEF Th ie

Defendant, Centre Hills Country Club (the “Club”), by counsel, and for the
reasons set forth below, requests an order sealing certain documents:

1, Defendant filed a Motion for Summary Judgment (Doc. 20),
Statement of Material Facts (Doc. 21), and Record (Doc. 22) on April 1, 2022.

2. Defendant requests that certain documents submitted in connection
with the Motion for Summary Judgment be sealed by the Court.

WHEREFORE, Defendant Centre Hills Country Club requests that the

Court grant this Motion.

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Respectfully submitted,

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py, LLL L

“Michael J. Cad Esquire 0
Attorney [. D. No. 66255

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Attorney for Defendant

Date: April 4, 2022

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on April 4, 2022, a true and correct copy of the

Defendant’s Motion to File Under Seal was sent electronically to the following:

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BARLEY SNYDER

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Date: April 4, 2022

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